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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF KENTUCKY
                                  SOUTHERN DIVISION
                                       (at London)

 UNITED STATES OF AMERICA,                          )
                                                    )
         Plaintiff,                                 )      Criminal Action No. 6: 06-21-DCR
                                                    )
 V.                                                 )
                                                    )
 PATRICK DUANE WHEELER,                             )          MEMORANDUM ORDER
                                                    )
         Defendant.                                 )

                                         *** *** *** ***

        On January 18, 2006, Defendant Patrick Duane Wheeler was charged with conspiracy

to distribute and possession with intent to distribute a controlled substance.1 The Superseding

Indictment filed on June 22, 2006 alleged that Wheeler conspired with others to possess, and did

possess with intent to distribute, fifty grams or more of “a mixture or substance containing a

detectable amount of cocaine base (crack cocaine),” in violation of 21 U.S.C. §§ 841(a)(1) and

846. [Record No. 75, p. 2] According to the Amended Judgment and other relevant documents,

the underlying events giving rise to Wheeler’s conviction and sentence ended on January 8,

2006. [See id.] Wheeler was sentenced to a term of imprisonment of 327 months on January 8,

2007. [Record Nos. 130, 166]




1        Wheeler was charged as Patrick Willard. On October 16, 2007, Wheeler wrote to the Court to correct
the clerical error. [Record No. 162] The Court entered an amended judgment reflecting the correction on
October 18, 2007. [Record Nos. 165, 166]

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        By letter postmarked April 8, 2013, Defendant Wheeler wrote to the Court “seeking

reli[e]f for a sentence reduction under the Fair Sentencing Act.” [Record No. 179] In other

words, Wheeler requests that the Court apply the 2010 amendments to his case based on the

United States Sentencing Commission’s view that the amendments should be applied

retroactively. The Court notes, however, that the position taken by the Sentencing Commission

is contrary to the law of this circuit. The Sixth Circuit has consistently held that the provisions

of the Fair Sentencing Act of 2010 do not apply to offenses committed prior to the effective date

of the act.2 United States v. Carradine, 621 F.3d 575, 580 (6th Cir. 2010); see United States v.

Ruff, 437 F. App’x 448, 451 (6th Cir. 2011) (unpublished). Here, the crime that forms the basis

for Defendant Wheeler’s conviction occurred before the effective date of the Fair Sentencing Act

of 2010, and he was sentenced before the Act became effective. Therefore, the holdings in

Carradine and Ruff foreclose the retroactive application of the Fair Sentencing Act of 2010 to

Wheeler’s case.

        Moreover, as the Court explained in its March 3, 2008 Notice, Wheeler’s original

guideline range is not affected by the crack cocaine amendments. [Record No. 168] Because

Defendant Wheeler had two prior felony drug convictions, he faced a mandatory life sentence




2       The cases cited in Wheeler’s motion are factually distinguishable from this action and, therefore, do
not support his request for a sentence reduction. See United States v. Epps, 707 F.3d 337 (D.C. Cir. 2013)
(holding that defendant was eligible for sentence reduction even though he entered into a Rule 11(c)(1)(C)
plea agreement); United States v. Wren, 706 F.3d 861 (7th Cir. 2013) (discussing application of retroactive
guidelines reduction where sentence was below the mandatory minimum due to a substantial-assistance
motion); United States v. Doe, 564 F.3d 305 (3d Cir. 2009) (affirming district court’s denial of motion to
reduce the defendants’ sentences where the applicable guideline range was not affected by the retroactive
amendment because the mandatory minimum applied).

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of imprisonment in connection with his conviction.3 [See PSR, ¶ 82] As a result, the retroactive

application of the crack cocaine amendments would not result in a reduction of Wheeler’s

sentence. See U.S.S.G. § 1B1.10(a)(2) (“A reduction in the defendant’s term of imprisonment

is not consistent with this policy statement and therefore is not authorized under 18 U.S.C. §

3582(c)(2) if . . . [a]n amendment listed in subsection (c) does not have the effect of lowering

the defendant’s applicable guideline range.”). Accordingly, it is hereby

        ORDERED as follows:

        1.       Defendant Patrick Duane Wheeler’s motion for retroactive application of the Fair

Sentencing Act of 2010 to his sentence [Record No. 179] is DENIED.

        2.       The Clerk is directed to forward a copy of this Memorandum Order to Defendant

Patrick Duane Wheeler at the Sandstone Federal Correctional Institution, P.O. Box 1000,

Sandstone, MN 55072.

        This 16th day of April, 2013.




3        Because Wheeler is a career offender under within the meaning of U.S.S.G. § 4B1.1, both before and
after the crack cocaine amendments, his offense level under this provision of the guidelines is 37, less a three
level reduction for acceptance of responsibility. A Total Offense Level of 34 combined with Criminal History
category VI results in a guideline range of 262 to 327 months.

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